                         Case 23-721, Document 33, 06/16/2023, 3530229, Page1 of 1
                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


Short Title: Suluki v. Credit One Bank, NA, et al.                     _____             Docket No.: 23-721 ________

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

Name: Heidi E. Siegmund

Firm:   McGuireWoods LLP

Address: Gateway Plaza, 800 East Canal Street, Richmond, Virginia 23219-3916

Telephone: (804) 775-1049
                     ___________________________                Fax: (804) 775-1061

E-mail: hsiegmund@mcguirewoods.com

Appearance for: Credit One Bank, N.A. / Defendant-Appellee
                                              (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                      )
                                              (name/firm)

G Substitute counsel (replacing other counsel:                         _______                                     )
                                                         (name/firm)

G Additional counsel (co-counsel with: Philip A. Goldstein / McGuireWoods LLP
✔                                                                                                                  )
                                                         (name/firm)

G Amicus (in support of:                                                                                           )
                                                         (party/designation)


                                                   CERTIFICATION
I certify that:

✔
G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

my admission on 6/16/2023                                                                                        OR

G I applied for admission on                                                                                       .


Signature of Counsel: /s/ Heidi E. Siegmund

Type or Print Name: Heidi E. Siegmund
